           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                       CRIMINAL NO. 1:04CR74-3


UNITED STATES OF AMERICA           )
                                   )
                                   )
           VS.                     )           ORDER
                                   )
                                   )
FRANKIE LEE GREER                  )
                                    )


     THIS MATTER is before the Court on the Defendant’s motion to

reconsider the denial of bond pending sentencing.

     There has been no change in circumstances since the last time the

Court considered the Defendant’s motion for bond. See Order, filed August

23, 2005. Absent the Government’s consent and/or the presence of

extraordinary circumstances, counsel may not renew this motion.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to

reconsider is hereby DENIED.




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                    Signed: December 6, 2005




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